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ROBIN ESPOSITO, * IN THE
Plaintiff, * UNITED STATES DISTRICT COURT
v. * FOR THE
WALMART INC., et al. * DISTRICT OF MARYLAND
Defendants. 7 NORTHERN DIVISION

* CASE NO.: 1:21-cv-01511-JMC

 

PLAINTIFF'S MOTION IN LIMINE TO EXCLUDE
PLAINTIFF'S PASTMEDICAL BILLS ANDEXPENSES

Now comes, Plaintiff, Robin Esposito, by and through her undersigned counsel, and
hereby files this Motion in Limine to prohibit Defendants and their counsel from introducing
Plaintiff's past medical bills and/or expenses into evidence, or referring to the amount of her
medical bills or the cost of her treatment in this case, at any time in trial in this case, including

opening statement and closing argument. In support of this Motion, Plaintiff states:

1. Ms. Esposito will not be claiming as damages the amount of past medical
expenses she incurred for the care and treatment of injuries sustained on July 12, 2018. While
there will be evidence of the medical care and treatment that the Plaintiff received after the
incident, she will be seeking only past, present and any future non-economic damages. Plaintiff's
non-economic damages will be proven by her testimony, the testimony of lay witnesses and the
testimony of other evidence from physicians and/or health care providers regarding her injuries

and the treatment of the same.

2. The Maryland Court of Special Appeals has held that a plaintiffs medical

bills are irrelevant to the determination of non-economic damages. Wright v. Hixon, 42

Md. App. 448, 456 (1979). There, the Court of Special Appeals ruled on this issue as
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follows:
"Finally, the appellant contends that the trial judge erred in not
permitting the appellant to offer into evidence the medical bills received
from the attending physician to corroborate the extent of his pain and
suffering. We find no merit in this contention. We see no relevance in

the submission of a bill for services submitted by a physician to the
severity of appellant's pain and suffering."

(emphasis supplied). For the same reason stated by the Court in Hixon, Plaintiffs medical bills
should not be introduced or referenced at trial in determining the nature, extent and amount of

her non-economic damages in this case.

3. Because Plaintiff is not claiming the amounts of her past medical bills and
expenses as an item of damage at trial, and because there is no relevant or logical connection
between the amount billed, charged or paid for any medical serviced rendered to her, and the
non-economic damage and losses that have been caused by, and have resulted from, Ms.
Esposito’ bodily injuries, the bills (the documents themselves), the amounts (individually, or
as a whole), and the fact that some of them were paid by an insurer, are all totally irrelevant to
the claims being made In this case, as they do not have “...any tendency to make the existence
of any fact that is of consequence to the determination of action more probable or less probable
than it would be without the evidence.” Md. Rule of Evidence 5-402. Because any evidence

of Plaintiff's past economic losses is not relevant, it is not admissible. Jd.

4. In addition to controlling Maryland case law precedent, this very same issue
also was considered by the United States District Court for the Eastern District of Virginia in
the case of Payne v. Wyeth Pharmaceutical 's Inc., 2008 WL 4890760 (E.D. VA 2008). While
not binding in Maryland, the thorough analysis conducted by the Payne court is certainly

instructive in this case. In Payne, the plaintiff filed for Chapter 7 bankruptcy nine months after
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being involved in a motor vehicle collision with a driver of a vehicle owned by Wyeth
Pharmaceuticals. Jd. at i). Payne listed his pre-bankruptcy petition medical bills in his
bankruptcy schedules and Wyeth alleged that Payne omitted some of his pre-bankruptcy
petition medical bills. Jd. The bankruptcy court discharged Payne's debt on April 7, 2008,
approximately a month after Payne filed a personal injury suit against Wyeth. Jd. To
support his claim for pain and suffering, Payne intended to introduce his medical bills
into evidence. Wyeth moved jn limine to have them excluded on the ground that they
were irrelevant to prove pain and suffering. The Payne court ruled on this issue as follows:

The Court holds that the medical bills are not relevant to pain and
suffering. In reaching this conclusion, the Court is persuaded by the

analysis of Carlson v. Bubash, 639 A.2d 458, 462 (Pa. 1994). As that
court reasoned:

It is immediately apparent that there is no logical or experiential
correlation between the monetary value of medical services required
to treat a given injury and the quantum of pain and suffering
endured as a result of that injury.

First, the mere dollar amount assigned to medical services masks the difference in severity
between various types of injuries. A very painful injury may be untreatable, or, on the
other hand, may require simpler and less costly treatment than a less painful one. The same
disparity in treatment may exist between different but equally painful injuries. Second,
given identical injuries, the method or extent of treatment sought by the patient or
prescribed by the physician, may vary from patient to patient and from physician to
physician. Third, even where injury and treatment are identical, the reasonable value of

that treatment may vary considerably depending upon the medical facility and community
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in which care is provided and the rates of physicians and other health care personnel
involved. Finally, even given identical injuries, treatment and cost, the fact remains that
pain in subjective and varies from individual to individual. See Payne. (footnote omitted;
emphasis supplied). The Court in Payne continued:

Furthermore, a "single figure representing the total amount of an
individual's medical bills does not demonstrate the number of times
the person received treatment or the nature of the treatment." Barkley,
595 S.E.2d at 274-75. (Kinser, J., concurring in part and dissenting in
part)("In some instances, one noninvasive diagnostic test can cost as
much as many visits to a physical therapist or chiropractor.").
Therefore, the medical bills have no tendency to establish Payne's
claim that he experienced pain and suffering as a result of the
accident. The Court accordingly holds that the medical bills are
inadmissible pursuant to Fed. R. Evid. 401 and 402.

/d. (emphasis supplied). Of course, those Rules are the equivalent of the Maryland Rules

of Evidence, 5-401 and 5-402.

5. As noted in Payne, there is no "logical connection" between the amounts of
medical bills incurred by Plaintiff and the pain and suffering caused by her injuries. Even
assuming, without agreeing, that the past medical bills were somehow relevant, the court should
still preclude them as evidence pursuant to the provisions of Md. Rule 5-403, because any
probative value they have is "substantially outweighed by the danger of unfair prejudice,
confusion of the issues, or misleading the jury." The Payne court addressed this issue as well:

Even if the Court were to conclude the medical bills are relevant and
admissible, the medical bills are nevertheless inadmissible pursuant to
Fed. R. Evid. 403. "Although relevant, evidence may be excluded if its
probative value is substantially outweighed by the danger of unfair
prejudice, confusion of the issues, or misleading the jury, or by

considerations of undue delay, waste of time, or needless presentation
of cumulative evidence." Fed. R. Evid. 403.
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Here, there is a substantial possibility of jury confusion if the
medical bills were introduced to prove pain and suffering. The jury may
be tempted to treat the medical bills as recoverable special damages
rather than to only assess the medical bills as evidence that Payne
experienced pain and suffering.

The jury may also be confused by the medical bills' characterization
of the treatment Payne allegedly underwent because the treatment is
described in the bills in summary, imprecise terms. These ill-defined
terms, presented right beside their cost in dollar figures, with little
explanation to guide the jury, would unfairly prejudice Wyeth
Pharmaceuticals. To cure this prejudice, and thus to clarify the meaning
of the terms in the medical bills, Payne would likely have to call a
witness from each medical office from which a bill was issued to testify
regarding, among other things, the terms of the bill and whether a doctor
or administrator labeled the procedures and treatments. Such a process
could unduly delay thetrial.

Furthermore, introduction of the medical bills into evidence
would be overly cumulative: whatever tendency they would have to
prove pain and suffering may already be amply demonstrated by
other, more probative evidence, such as the testimony of Payne and
his doctors. On the other side of the scale, the medical bills are of
limited probative value for many of the reasons discussed in the
relevance analysis, supra. For all these reasons individually, and for
all of them together, the Court holds that Payne's medical bills fail
Rule 403 analysis and are therefore inadmissible to prove pain and
suffering.

See Id. (footnote omitted; emphasis supplied).

6. Because Plaintiffs past medical bills are not being claimed as an item of damage
in this case, they will not be offered as evidence or introduced at trial. Because there will be
no jury instruction about them, any mention of those bills will confuse the jury about the true
issues they will have to decide and because they will not be instructed on how to consider the
amounts of the bills. Further, introducing the past medical expenses would unfairly prejudice

Plaintiff because of the risk that the jurors would substitute the bill amounts for any award
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for her pain and suffering and/or improperly attempt to use, at the suggestion of the
Defendant, her past medical expenses, and the amount of medical care that she received after
the incident, as a basis to establish the amount to be awarded for her non-economic damages
for pain and suffering. As recognized by the Payne court, "there is no logical or experiential
correlation between the monetary value of medical services required to treat a given injury and
the quantum of pain and suffering endured as a result of that injury." /d. at 6.

7. The Payne decision is consistent with the decision of the Court of Special
Appeals in Wright, supra. To this end, the Defendants should also be precluded from making
any statements, suggestions or arguments that the jury should base their damage award for
Plaintiffs "pain and suffering" on the amount of the medical bills that she already has incurred
following the motor vehicle accident in this case. The evidence at trial will address the injuries
that Plaintiff suffered in the subject personal injury and will be limited to that issue. The expert
testimony will establish that Plaintiff suffered injuries which include injuries to her cervical
spine which required her to have surgery; and injuries to her left shoulder and left arm. The cost
ofher medical care is totally irrelevant to the issue of her non-economic damages. It would,
therefore, be improper and prejudicial to the Plaintiff if the Defendant was permitted to argue,

imply or suggest in any way that Plaintiffs "pain and suffering," or other non-economic
damages should be based on the value of the past medical care provided to her, or on the

amount of the medical expenses that she incurred following the motor vehicle accident that is

the subject of this action.
CONCLUSION

Plaintiff respectfully requests that this Honorable Court grant this Motion in Limine

and prohibit both the introduction of any of Plaintiffs past medical bills into evidence, as well
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as any suggestion of, or reference to, argument by the Defendant and/or Defendant's attorney
that is based on the amount of the Plaintiffs past medical bills in this case, and/or for any
reference to Plaintiffs past medical bills at any time during the trial of this case, including

opening statement and closing argument.

Respectfully submitted,

J&L Sleve Heisler

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Counsel for Plaintiff

CERTIFICATE OF SERVICE

1] HEREBY CERTIFY that on this 15th day of December 2021, a copy of Plaintiffs
Motion in Limine to Exclude Plaintiff's Past Medical Bills and Expenses, was mailed via first
class mail, postage prepaid to:

Christopher R. Dunn
17251 Medford Boulevard, Suite 200
Bowie, Maryland 20715
Counsel for Defendant

Li Steve Heicler

Steven H. Heisler, Esquire
